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 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Nos., State Bar No. & Email Address

 Michael Jay Berger (SBN 100291)
 Law Offices of Michael Jay Berger                                                                       FILED & ENTERED
 9454 Wilshire Blvd., 6th Fl.
 Beverly Hills, CA 90212
 Tel.: (310) 271-6223                                                                                            MAR 04 2024
 Fax: (310) 271-9805
 Michael. Berger@bankruptcypower.com
                                                                                                           CLERK U.S. BANKRUPTCY COURT
                                                                                                           Central District of California
                                                                                                           BY Pgarcia DEPUTY CLERK




                                                                                                CHANGES MADE BY COURT
     Individual appearing without attorney
     Attorney for: Mr. Tortilla, Inc.

                                      UNITED STATES BANKRUPTCY COURT
                         CENTRAL DISTRICT OF CALIFORNIA -SAN FERNANDO VALLEY DIVISION

 In re:                                                                      CASE NO.: 1:24-bk-10228-VK
                                                                             CHAPTER: 11
 Mr. Tortilla, Inc.
                                                                             ORDER:
                                                                                    GRANTING APPLICATION AND SETTING
                                                                                    HEARING ON SHORTENED NOTICE
                                                                                    DENYING APPLICATION FOR ORDER
                                                                                    SETTING HEARING ON SHORTENED
                                                                                    NOTICE
                                                                                             [LBR 9075-1(b)]
                                                              Debtor(s).

 Movant (name): Mr. Tortilla, Inc.



1. Movant filed the following motion together with supporting declarations and (if any) supporting documents:

    a. Title of motion: Debtor’s Motion for an Order Authorizing Debtor to Satisfy Pre-Petition Claims of Critical Vendor
       Amazon.Com Services, LLC Necessary for Debtor’s Continued Business Operations; Declaration of Anthony
       Alcazar in Support Thereof

    b. Date of filing of motion: March 1, 2024

2. Pursuant to LBR 9075-1(b), movant also filed an Application for Order Setting Hearing on Shortened Notice
   (Application) together with supporting declaration(s):

    Date of filing of Application: March 1, 2024

3. Based upon the court’s review of the application, it is ordered that:

    a.        The Application is denied. The motion may be brought on regular notice pursuant to LBRs.

    b.        The Application is granted, and it is further ordered that:
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        (1)       A hearing on the motion will take place as follows:


                Hearing date: March 7, 2024                 Place:
                Time: 1:30 p.m.                                 255 East Temple Street, Los Angeles, CA 90012
                                                                21041 Burbank Boulevard, Woodland Hills, CA 91367
                Courtroom: 301
                                                                3420 Twelfth Street, Riverside, CA 92501
                                                                411 West Fourth Street, Santa Ana, CA 92701
                                                                1415 State Street, Santa Barbara, CA 93101

        Effective October 2, 2023, Judge Kaufman has resumed in-person hearings. However, parties in interest (and their counsel)
        may continue to participate in most hearings remotely using ZoomGov audio and video. Any attorney or party in interest
        who makes an appearance on the record, via ZoomGov, must appear by video.

        Unless otherwise ordered by Judge Kaufman, no party or witness may appear remotely for any trial or evidentiary hearing.

        MEMBERS OF THE PUBLIC AND THE PRESS MAY ONLY CONNECT TO THE ZOOM AUDIO FEED, AND ONLY BY
        TELEPHONE. ACCESS TO THE VIDEO FEED BY THESE INDIVIDUALS IS PROHIBITED. IN THE CASE OF A TRIAL OR
        EVIDENTIARY HEARING, NO AUDIO ACCESS WILL BE PROVIDED. HOWEVER, MEMBERS OF THE PUBLIC AND THE
        PRESS MAY OBSERVE SUCH PROCEEDINGS IN PERSON.

        The following instructions will apply to the ZoomGov hearing:
        Meeting Information: March 7, 2024
        Meeting URL: https://cacb.zoomgov.com/j/1608055403
        Meeting ID: 160 805 5403
        Password: 464345

        Join by Telephone: 1-669-254-5252 or 1-646-828-7666
        Meeting ID: 160 805 5403
        Password: 464345

        Hearing participants and members of the public may view and listen to the hearing through ZoomGov free of charge.
        Individuals may connect by ZoomGov video and audio using a personal computer (equipped with camera, microphone and
        speaker), or a handheld mobile device (such as an iPhone). Neither a Zoom nor a ZoomGov account is necessary to
        participate and no pre-registration is required.
        The audio portion of each hearing will be recorded electronically by the Court and constitute its official record.
        All persons (other than Court staff creating the official record of the hearing) are strictly prohibited from making any audio or
        video recording of the proceedings.

        (2)       No later than the deadlines given, telephonic notice of the hearing must be provided to all
                  persons/entities listed:

                (A) Deadlines:                         (B) Persons/entities to be provided with telephonic notice:
                Date: March 4, 2024

                Time: 5:00 p.m.

                                                                See attached page
                                                       (C) Telephonic notice is required upon the United States trustee




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        (3)         No later than the deadlines given, written notice of the hearing and a copy of this order must be
                    served upon all persons/entities listed using:       one of the methods checked         all of the
                    methods checked

              (A)        Personal Delivery             Overnight Mail                First class mail               Facsimile*               Email*

                (B) Deadlines:                         (C) Persons/entities to be served with written notice and a copy of this
                                                           order:
                Date: March 5, 2024

                Time: 12:00 p.m.                                • Secured Creditors
                                                                • 20 largest unsecured creditors
                *To be received by this date                    • IRS – to be served at its mailing address in accordance with the
                and time.                                            Central Guide Supplement to FRBP 5003(e).

                                                                See attached page
                                                       (D) Service is also required upon:
                                                           -- United States trustee (electronic service is not permitted)
                                                           -- Judge’s copy personally delivered to chambers
                                                              (see Court Manual for address)

        (4)       No later than the deadlines given, a copy of the motion, declarations, and supporting documents (if any),
                  must be served on all persons/entities listed using:        one of the methods checked       all of the
                  methods checked
              (A)      Personal Delivery       Overnight Mail          First Class Mail        Facsimile*      Email*

                (B) Deadlines:                         (C) Persons/entities to be served with motion, declarations, supporting
                    Date: March 5, 2024                    documents:

                    Time: 12:00 p.m.                            • Secured Creditors
                                                                • 20 largest unsecured creditors
                    *To be received by this                     • IRS – to be served at its mailing address in accordance with the
                    date and time.                                   Central Guide Supplement to FRBP 5003(e).

                                                              See attached page
                                                       (D) Service is also required upon:
                                                           -- United States trustee (no electronic service permitted)
                                                           -- Judge’s copy personally delivered to chambers
                                                              (see Court Manual for address)


        (5)         Regarding opposition to the motion

                    opposition to the motion may be made orally at the hearing

                    no later than the deadlines given, written opposition to the motion must be filed with the court and
                    served upon all persons/entities listed using:     one of the methods checked           all of the methods
                    checked
              (A)        Personal Delivery            Overnight Mail              First Class Mail                Facsimile*                Email*




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                (B) Deadlines:                         (C) Persons/entities to be served with written opposition to the motion:
                    Date:                                  -- movant’s attorney (or movant, if movant is not represented by an
                                                              attorney)
                    Time:




                                                       (D) Service is also required upon:
                                                           -- United States trustee (electronic service is not permitted)
                                                           -- Judge’s copy personally delivered to chambers
                                                              (see Court Manual for address)


        (6)         Regarding a reply to an opposition:

                    a reply to opposition may be made orally at the hearing.

                    no later than the deadlines given, a written reply to an opposition must be filed with the court and
                    served on all persons/entities listed using:        one of the methods checked           all of the methods
                    checked

              (A)           Personal Delivery         Overnight Mail              First Class Mail                Facsimile*                Email*

                (B) Deadlines:                         (C) Persons/entities to be served with written reply to opposition:
                    Date:                                  -- All persons/entities who filed a written opposition

                    Time:



                                                       (D) Service is also required upon:
                                                           -- United States trustee (electronic service is not permitted)
                                                           -- Judge’s Copy personally delivered to chambers
                                                              (see Court Manual for address)


        (7)         Other requirements:

              •     No later than 5:00 p.m. on March 5, 2024, the debtor must file a declaration and
                    updated cash collateral budget illustrating its proposed payments of the Amazon
                    prepetition debt over time, during the postpetition period, i.e., when each
                    installment payment of the prepetition debt will be made and for how much.




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        (8)      No later than the deadlines given, movant must file a Declaration of Notice and Service establishing
                 that telephonic notice, written notice, and service of the motion and this order was completed as set forth
                 above, and a judge’s copy of the Declaration of Notice and Service must be personally delivered to the
                 judge’s chambers:

                        at least 2 days before the hearing.

                        no later than:          Date:                              Time:



    * Service by electronic means (facsimile or email) requires compliance with F.R.Civ.P. 5(b)(2)(E).

                                                                        ###




                Date: March 4, 2024




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